     Case 6:15-cr-06102-FPG-JWF Document 79 Filed 07/11/18 Page 1 of 2



IN THE DISTRICT COURT OF THE UNITED STATES
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,
                                                                NOTICE OF APPEAL
                 -vs-
                                                                6:15CR-O6IO2-OOI
MELVIN FRAZIER,

                        Defendant.

       Notice is hereby given that Melvin Frazier, defendant in the above-named case,
hereby appeals to the United States Court of Appeals for the Second Circuit from all
parts of the above-entitled case, and the conviction and sentencing of Mr. Frazier on
July 10, 2018.

Dated: July 10, 2018




                                            Bryan S. Oathout, Esq.
                                            Attorney for Defendant
                                            30 West Broad Street, Suite 400
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    Case 6:15-cr-06102-FPG-JWF Document 79 Filed 07/11/18 Page 2 of 2




IN THE DISTRICT COURT OF THE UNITED STATES
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                 -vs-                                         6:15CRO6IO2-OOI

MELVIN FRAZIER,

                        Defendant.

                            CERTIFICATE OF SERVICE


      I hereby certify that on July 11, 2018 I personally served the foregoing Notice of

Appeal by hand delivering a copy to:


                        Melissa Marangola, Esq.
                        Assistant United States Attorney
                        100 State Street, Room 500
                        Rochester, New York 14614


Dated: July 10, 2018




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